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'liIoAO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
               ,Sheet 1



                                       UNITED STATES DISTRICT COURT                                                       NOV 2 32009
                                                         Eastern District of Arkansas                        JAMES~tM:~\l;~rtQI~
          UNITED STATES OF AMERICA                                           Judgment in a Criminal ~~_'-"'''''''''~&.L.~~~~:-:!=~
                               v.                                            (For Revocation of Probation or Supervised Release)


               TERRANCE D. OLIVER                                            Case No.          4:06CR00146-01 JLH
                                                                             USMNo.            24102-009
                                                                                                     . Jerome Kearney
                                                                                                       Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)            -Special, General, 3               of the term of supervision.
X   was found in violation of condition(s)               -'9::..-                         after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                Nature of Violation                                                                   Violation Ended
Special                         Failure to successfully complete residential re-entry program                         April 20, 2009
General                         Unlawful use of a controlled substance                                                July 10, 2009
Special                         Failure to report for drug testing as directed by probation officer                   October 30, 2009
3                               Failure to truthfully answer inquires of probation officer                            October 30, 2009
9                               Association with known felons                                                         June 25, 2009


       The defendant is sentenced as provided in pages 2 through                   2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X   The defendant has not violated condition(s) _G=en,..e::.;ra:::l'--            and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3388

Defendant's Year of Birth:           1986

City and State of Defendant's Residence:
                  Little Rock, Arkansas
                                                                                       J. ',EON HOlMES, U.S. DISTRICT JUDGE
                                                                                                      Name and Title ofJudge

                                                                                                      November 23, 2009
                                                                                                                   Date
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AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                 Judgment - Page _~2_ of        2
DEFENDANT:                     TERRANCE D. OUVER
CASE NUMBER:                   4:06CR00146-01 JLH


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :

                                  SIX (6) MONTHS with no supervised release to follow


     X The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends defendant participate in nonresidential substance abuse treatment during
         incarceration.



     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
          o    at    _________ 0                         a.m.      0     p.m.    on

          o    as notified by the United States Marshal.

     X   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          X    before 2 p.m. on        Monday. December 28. 2009
          o    as notified by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                      to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By                      ~~~_:_:_:=::_:_:_----
                                                                                           DEPUTY UNITED STATES MARSHAL
